Case 8:13-cv-02612-CEH-MAP Document 51 Filed 01/19/15 Page 1 of 3 PageID 1744



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


JOHN WIGMORE, as Trustee of the Wigmore
Survivor Trust and the Wigmore Residuary Trust,

       Plaintiff,

v.                                                           Case No. 8:13-CV-2612-T-36MAP

LIBERTY TRADING GROUP, INC., JAMES
CORDIER and MICHAEL GROSS,

      Defendants.
______________________________________/

                                 JOINT NOTICE OF SETTLEMENT

       Plaintiff, John Wigmore, as Trustee of the Wigmore Survivor Trust and the

Wigmore Residuary Trust, and Defendants, Liberty Trading Group, Inc., James Cordier

and Michael Gross, by and through undersigned counsel and pursuant to Local Rule

3.08, notify the Court that settlement has been reached in the above-styled cause. The

settlement terms include a payment plan that will not be completed until September

2015. Therefore, the parties request that the Court administratively close this case

subject to the right of any party to request on or before September 30, 2015, (rather

than the usual sixty days1), that the case be reopened for further proceedings, including

entering a final judgment of dismissal with prejudice upon final payment, enforcement of

the terms of the settlement agreement if necessary, or other good cause shown, with

retention of jurisdiction for such further proceedings.

       Please note that this case is on the trial docket commencing February 2, 2015, is

scheduled for pretrial conference and hearing on a motion for continuance of the trial
1
       Local Rule 3.08 provides that the Court may specify a period other than sixty days.
Case 8:13-cv-02612-CEH-MAP Document 51 Filed 01/19/15 Page 2 of 3 PageID 1745



and a motion to amend answer on January 20, 2015, at 2:15 p.m., and is scheduled for

hearing on motions in limine on January 20, 2015, at 2:30 p.m., all of which should be

canceled.

                                       /s/ Michael H. Schaalman
                                       Michael H. Schaalman
                                       Halling & Cayo, S.C.
                                       320 East Buffalo Street, #700
                                       Milwaukee, WI 53202
                                       (414) 271-3400
                                       Counsel for Plaintiff

                                       /s/ Paul E. Parrish
                                       Paul E. Parrish
                                       Quarles & Brady LLP
                                       101 East Kennedy Boulevard
                                       Suite 3400
                                       Tampa, FL 33602
                                       Local Counsel for Plaintiff


                                       /s/ StanleyT. Padgett
                                       Stanley T. Padgett, Esquire
                                       Florida Bar No. 348686
                                       PADGETT LAW, P.A.
                                       201 E. Kennedy Blvd., Suite 600
                                       Tampa, Florida 33602
                                       (813) 230-9098
                                       (866) 896-7664 (Fax)
                                       Email: spadgett@padgettlawpa.com
                                       Counsel for Defendants
                                       Liberty Trading Group, Inc. and James Cordier


                                       /s/ Henry K. Becker
                                       Henry K. Becker
                                       Pro Hac Vice
                                       227 South Blvd.
                                       Oak Park, IL 60632
                                       (312) 278-3004
                                       Email: hb@hkb-law.com
                                       Trial Counsel for Defendant Michael Gross

                                       and



                                          2
Case 8:13-cv-02612-CEH-MAP Document 51 Filed 01/19/15 Page 3 of 3 PageID 1746




                                       /s/ Jayne M. Lambert     ______
                                       Jayne M. Lambert
                                       Florida Bar No. 602914
                                       JAYNE M. LAMBERT, P.A.
                                       1228 East 7th Avenue
                                       Suite 200 (zip 33605)
                                       P.O. Box 2925
                                       Tampa, FL 33601-2925
                                       Phone (813)248-5004
                                       Fax (866)596-3196
                                       Primary E-mail JLambert@JMLPA.com
                                       Local Counsel for Defendant Michael Gross



                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 19th day of January, 2015, I electronically filed

the foregoing with the Clerk of the Court by using the CM/ECF system.


                                       /s/ Jayne M. Lambert     ______
                                       Jayne M. Lambert
                                       Florida Bar No. 602914
                                       JAYNE M. LAMBERT, P.A.
                                       1228 East 7th Avenue
                                       Suite 200 (zip 33605)
                                       P.O. Box 2925
                                       Tampa, FL 33601-2925
                                       Phone (813)248-5004
                                       Fax (866)596-3196
                                       Primary E-mail JLambert@JMLPA.com
                                       Local Counsel for Defendant Michael Gross




                                          3
